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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re                                                         Chapter 11

 STREAM TV NETWORKS, INC.,                                     Case No.: 23-10763 (AMC)
                                                               (Jointly Administered)1
          Debtors.


                         NOTICE OF ORAL DEPOSITION DUCES TECUM

          PLEASE TAKE NOTICE that Visual Semiconductor, Inc. (“VSI”) by and through their

 undersigned counsel, pursuant to Rules 30(b)(6) and 45 of the Federal Rules of Civil Procedure,

 as made applicable by Rule 7030 of the Federal Rules of Bankruptcy Procedure, will take the oral

 deposition of the designee or designee(s) of Hawk Investments Holding Ltd ("Hawk" and/or the

 "Deponent"), in connection with case, on October 30, 2024 at 10:00 a.m. (Eastern Time) and

 will continue day to day until completed or adjourned by mutual consent of the parties, at the law

 office of Akerman LLP, 222 Delaware Avenue, Suite 1710, Wilmington, Delaware 19801.

 The deposition will be conducted under oath before a certified court reporter, recorded

 stenographically and may be videotaped.

          PLEASE TAKE FURTHER NOTICE that the Deponent must designate one or more

 persons to testify on behalf of the deponent, with regard to all matters known or reasonably

 available to the deponent on the matters set forth on Schedule "A" attached hereto. VSI requests

 that the deponent provide, as soon as reasonably possible, a written designation of the name(s) and

 position(s) of the persons who consent to testify on behalf of the deponent.




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  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).
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           Hawk is to testify as to the following topics:

                                               LIST OF TOPICS

           1.     Hawk's relationship with SSG.

           2.     The appointment of the Trustee.

           3.     Hawk's communications and dealings with the Trustee.

           4.     Hawk's and/or its agent(s)' influence or control over the Debtors, the Debtors'

 assets, this case, or the Trustee.

           5.     All amounts Hawk has paid to the Trustee and/or the Debtors' estates.

           6.     Hawk's and/or other parties' ability to fund the amounts owed under the Sharing

 and Carve Out Agreement [ECF No. 630-1] ("9019 Settlement").

           7.     Communications regarding SSG and the Trustee.

           8.     Location of the Debtors' assets.

           9.     Use by Hawk and other non-Debtor parties of the Debtors' assets, including

 intellectual property.

           10.    Hawk's communications with current or prospective investors in the Debtors'

 assets.

           PLEASE TAKE FURTHER NOTICE that the Deponent is further requested to produce

 all documents described on the attached Schedule "A." In order to expedite the deposition, please

 deliver via electronic transmission, copies of the documents, electronically stored information, or

 objects described in the attached “Schedule A” to the undersigned counsel at the Austin, Texas

 address or via email to adam.swick@akerman.com on or before October 24, 2024.



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 Dated: October 11, 2024                 Respectfully submitted,

                                         AKERMAN LLP

                                          /s/ R. Adam Swick
                                         Donald N. David, SBN: 304846
                                         Mark S. Lichtenstein (Admitted Pro Hac Vice)
                                         1251 Avenue of the Americas
                                         37th Floor
                                         New York, NY 10020
                                         Telephone: (212) 880-3800
                                         Facsimile: (212) 880-8965
                                         Email: donald.david@akerman.com
                                                  mark.lichtenstein@akerman.com
                                         -and-
                                         R. Adam Swick (Admitted Pro Hac Vice)
                                         AKERMAN LLP
                                         500 West 5th Street, Suite 1210
                                         Austin, TX 78701
                                         Telephone: (737) 999-7103
                                         Facsimile: (512) 623-6701
                                         Email: adam.swick@akerman.com
                                         -and-
                                         John H. Thompson (Admitted Pro Hac Vice)
                                         AKERMAN LLP
                                         750 Ninth Street, N.W. 750
                                         Washington, D.C. 20001
                                         Telephone: (202) 824-1760
                                         Facsimile: (202) 393-5959
                                         Email: john.thompson@akerman.com
                                         -and-
                                         Leif M Clark (Admitted Pro Hac Vice)
                                         Leif M Clark Consulting PLLC
                                         1105 Bonner
                                         Houston, TX 77007
                                         Telephone: (210) 663-5183
                                         Email: lmclark@leifmclark.com

                                         Attorneys for Visual Semiconductor, Inc.




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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 11, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served on this day by transmission of Notices of Electronic Filing generated by CM/ECF

 to those parties registered to receive electronic notices of filing in this case, and via email to the

 following parties as follows:

  Hawk Investments Holding Ltd
  c/o K&L GATES LLP
  Steven L. Caponi
  Megan E. O'Connor
  600 King Street, Suite 901
  Wilmington, DE 19801
  Email: steven.caponi@klgates.com
         megan.oconnor@klgates.com
  -and-
  Margaret R. Westbrook
  Jonathan N. Edel
  Aaron S. Rothman
  300 South Tryon Street, Suite 1000
  Charlotte, NC 28202
  Email: margaret.westbrook@klgates.com
         jon.edel@klgates.com
         aaron.rothman@klgates.com
  -and-
  Thomas A. Warns
  599 Lexington Avenue
  New York, NY 10022
  Email: tom.warns@klgates.com

  William A. Homony as the Chapter 11 Trustee
  MILLER COFFEY TATE LLP
  1628 John F. Kennedy Blvd., Ste 950
  Philadelphia, PA 19103
  Email: bhomony@mctllp.com




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  William A. Homony as the Chapter 11 Trustee
  c/o Edmond M. George
  Michael D. Vagnoni
  OBERMAYER REBMANN MAXELL & HIPPEL LLP
  Centre Square West
  1500 Market Street, Suite 3400
  Philadelphia, PA 19102
  Email: michael.vagnoni@obermayer.com




                                                  /s/ R. Adam Swick
                                                  R. Adam Swick




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